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                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF NextGen 1.7.1.1
                                 Eastern Division

IKEA Supply AG
                                Plaintiff,
v.                                                      Case No.: 1:24−cv−00051
                                                        Honorable Sara L. Ellis
Convoy, Inc., et al.
                                Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Monday, March 4, 2024:


         MINUTE entry before the Honorable Sara L. Ellis: The Court strikes the status
date set for 3/5/2024 and resets it to 5/8/2024 at 9:30 AM. The parties should file a status
report by 5/1/2024 indicating the status of service on all outstanding Defendants as well as
a proposed discovery schedule. Attorneys/Parties should appear for the hearing by calling
the Toll−Free Number: (866) 434−5269, Access Code: 8087837. Throughout the
telephonic hearing, each speaker will be expected to identify themselves for the record
before speaking. Please note that the conference call−in will be used by all cases that are
on the court's calendar for the said date, therefore counsel must be in a quiet area while on
the line and must have the telephone muted until your case is called. Members of the
public and media will be able to call in to listen to this hearing (use toll−free number).
Please be sure to keep your phone on mute when you are not speaking. Persons granted
remote access to proceedings are reminded of the general prohibition against
photographing, recording, and rebroadcasting court proceedings. Violation of these
prohibitions may result in sanctions, including removal of court−issued media credentials,
restricted entry to future hearings, denial of entry to future hearings, or any other sanctions
deemed necessary by the Court. Mailed notice(rj, )




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